Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 1 of 10



                            United States District Court
                                      for the
                            Southern District of Florida

  Gatearm Technologies, Inc.,            )
  Plaintiff,                             )
                                         )
  v.                                     ) Civil Action No. 14-62697-Civ-Scola
                                         )
  Access Masters, LLC, and Blacksky      )
  Technologies, Inc. Defendants.         )

           Order Adopting Magistrate’s Report and Recommendation
         This matter was referred to United States Magistrate Judge Alicia M.
  Otazo-Reyes for a report and recommendation on the Plaintiff’s motion to
  reopen, for an order to show cause why Defendants should not be held in
  contempt, and to enforce the consent judgment (Mot., ECF No. 59). On
  January 4, 2018, Judge Otazo-Reyes issued a report, recommending that the
  Court adopt the Defendants’ claim construction. (R. & R., ECF No. 95.) The
  Plaintiff filed objections to the report (ECF No. 97), to which the Defendants
  responded (ECF No. 98). Having considered Judge Otazo-Reyes’s report, the
  record in this case, and the relevant legal authorities, this Court adopts Judge
  Otazo-Reyes’s report (ECF No. 95) for the reasons set forth below.
         1. Background
         This case involves claims of patent infringement of two patents
  (8,845,125 (’125 patent) and 9,157,200 (’200 patent)) for LED arms for vehicle
  and pedestrian traffic gates. (See Second Am. Compl., ECF No. 36.) The
  Plaintiff provides access control products, including LED gate arms, and is the
  owner of the ’125 and ’200 patents. Essentially, the Plaintiffs’ gate arms feature
  small outer cavities on either side that serve as housings for strips of LED
  lights. The Defendant Access Masters, LLC (“Access Masters”) competes with
  the Plaintiff in the marketing and distribution of security products, including
  LED gate arms. The Defendants Blacksky Technologies, Inc. (“Blacksky”) and
  Gatearms.com distribute Access Masters products. The Plaintiff alleges that the
  Defendants collectively infringed the ’125 and ’200 patents by manufacturing
  and selling a similar LED gate arm. The design at issue is depicted as follows in
  the ’125 and ’200 patents:
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 2 of 10




                    (Fig. 7)                                    (Fig. 9)
  The Defendants’ accused product, which the Plaintiff contends infringed its
  patents is pictured below:




         The parties participated in mediation and settled this case in early 2016.
  (See ECF No. 52.) Following the parties’ settlement, the Court entered a
  consent decree that permanently enjoins the Defendants from “manufacturing,
  advertising, marketing, distributing, selling, offering to sell, importing or
  exporting the accused ‘LED Arm for a Gate’ or any vehicle barrier system with
  an illuminating gate arm that would infringe any valid and enforceable claim”
  of the ’125 or ’200 patents. (ECF No. 53.) Thus, the Court did not have an
  opportunity to engage in any substantive analysis of the patents, or otherwise
  determine whether an infringement occurred. After entry of the consent decree,
  the Court closed this case.
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 3 of 10



        Less than nine months later, the Plaintiff filed its motion to reopen, in
  which it contends that the Defendants are in contempt of the consent decree
  because they have released a new product that infringes upon the ’125 and
  ’200 patents, and therefore, violates the consent decree. The Defendants’ new
  product appears below:




  Judge Otazo-Reyes held a status conference on the Plaintiff’s motion, during
  which the parties agreed that prior to determining the issue of contempt, the
  Court would have to determine the issue of infringement. (ECF No. 78.)
  Accordingly, Judge Otazo-Reyes set a Markman hearing. (Id.)1
        During the Markman hearing, Judge Otazo-Reyes heard argument
  regarding the claim terms that the parties dispute. The parties agreed with
  Judge Otazo-Reyes’s assessment that only two particular phrases appearing in
  Claims 1, 2, and 3 of the ’125 patent require construction—“first upper
  sidewall including a terminating end” and “first lower sidewall including a
  terminating end.”
        Ultimately, Judge Otazo-Reyes recommends that the Court adopt the
  Defendants’ proposed claim construction. (See R. & R., ECF No. 95 at 9-10)

  1At the Markman hearing, the parties also agreed that the ultimate adjudication of the
  Plaintiff’s motion will require an evaluation of claim construction, followed by a
  determination of infringement, and thereafter, a finding regarding contempt. Thus, the
  present report is the first in a potential sequence of three. (See Tr. of Markman Hr’g,
  ECF No. 96 at 88-89.)
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 4 of 10



  because it is consistent with the “customary and ordinary meaning” standard
  applicable in patent claim construction. (Id. at 10.)
        The Plaintiff has filed objections to Judge Otazo-Reyes’s report. (See
  Objs. to R. & R., ECF No. 97.)
         2. Legal Standard
            A. Objections to a report and recommendation
         “In order to challenge the findings and recommendations of the
  magistrate judge, a party must file written objections which shall specifically
  identify the portions of the proposed findings and recommendation to which
  objection is made and the specific basis for objection.” Macort v. Prem, Inc., 208
  F. App’x 781, 783 (11th Cir. 2006) (quoting Heath v. Jones, 863 F.2d 815, 822
  (11th Cir.1989)) (alterations omitted). The objections must also present
  supporting legal authority. Once a district court receives “objections meeting
  the specificity requirement set out above,” it must “make a de novo
  determination of those portions of the report to which objection is made and
  may accept, reject, or modify in whole or in part, the findings or
  recommendations made by the magistrate judge.” Macort, 208 F. App’x at 783-
  84 (quoting Heath, 863 F.2d at 822) (alterations omitted). To the extent a party
  fails to object to parts of the magistrate judge’s report, those portions are
  reviewed for clear error. Id. at 784 (quoting Johnson v. Zema Sys. Corp., 170
  F.3d 734, 739 (7th Cir.1999)). A court, in its discretion, need not consider
  arguments that were not, in the first instance, presented to the magistrate
  judge. Williams v. McNeil, 557 F.3d 1287, 1291 (11th Cir. 2009).
            B. Legal Principles of Claim Construction
         Claim construction is the process of construing disputed terms within a
  patent claim. Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed.
  Cir. 1995), aff’d, 517 U.S. 370 (1996). The goal of claim construction is to give
  disputed terms their “ordinary and customary meaning” as the term would
  mean to “a person of ordinary skill in the art in question. . . as of the effective
  filing date of the patent application.” Vitronics Corp. v. Conceptronic, Inc., 90
  F.3d 1576, 1582 (Fed. Cir. 1996). A person of ordinary skill in the relevant art
  is the standard used because patents are addressed to others skilled in the
  pertinent art. Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005).
         When a term requires construction, the Court’s task is a limited one. The
  Court must construe only those terms that are in controversy, and “only to the
  extent necessary to resolve the controversy.” Vivid Techs., Inc. v. Am. Sc. &
  Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999). Claim construction involves
  defining a term in its appropriate context. “[T]here is no magic formula. . . for
  conducting claim construction. Nor is the court barred from considering any
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 5 of 10



  particular sources or required to analyze the sources in any specific
  sequence[.]” Phillips, 415 F.3d at 1324. “To ascertain the meaning of claims, we
  consider three sources: The claims, the specification, and the prosecution
  history.” Markman, 52 F.3d at 979 (quoting Unique Concepts, Inc. v. Brown, 939
  F.2d 1558, 1561 (Fed. Cir. 1991)).
         The claim itself often provides substantial guidance as to the meaning of
  particular claim terms. See Vitronics, 90 F.3d at 1582. Because claim terms are
  normally used in a consistent manner throughout a patent, usage of a term in
  one claim can illuminate the meaning of the same term in another claim.
  Phillips, 415 F.3d at 1324.
         The claims must also “be read in view of the specification, of which they
  are a part.” Markman, 52 F.3d at 979 (internal citations omitted). “The
  specification contains a written description of the invention that must enable
  one of ordinary skill in the art to make and use the invention.” Id.
  Furthermore, a patent’s specification is “always highly relevant to the claim
  construction analysis. Usually it is dispositive; it is the single best guide to the
  meaning of a disputed term.” Vitronics, 90 F.3d at 1582. For this reason, the
  specification is “the primary basis for construing the claims.” Phillips, 415 F.3d
  at 1315. “The construction that stays true to the claim language and most
  naturally aligns with the patent’s description of the invention will be, in the
  end, the correct construction.” Id., at 1316 (citing Renishaw PLC v. Marposs
  Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir 1998)).
         Courts also consider a patent’s prosecution history, if it is in evidence, to
  illuminate a disputed term. Markman, 52 F.3d at 980. A patent’s prosecution
  history can consist of the complete record of the proceedings before the United
  States Patent Trademark Office (“USPTO”) and can include the prior art cited
  during the examination of the patent, which, like the specification, can shed
  light on how the inventor and USPTO understood the patent. Phillips, 415 F.3d
  at 1317. However, courts are wary of placing too much emphasis on the
  prosecution history because it reflects an ongoing negotiation between the
  USPTO and the inventor, and thus can lack the clarity needed to be a helpful
  resource. See Athletic Alternatives, Inc. v. Prince Mfg., Inc., 73 F.3d 1573, 1580
  (Fed. Cir. 1996) (concluding that the evidence in the patent’s prosecution
  history produced contradictory interpretations). Nonetheless, when the
  prosecution history in evidence clearly disclaims an interpretation, the
  disclaimed interpretation should be excluded from the claim construction. ZMI
  Corp. v. Cardiac Resuscitator Corp., 844 F.2d 1576, 1580 (Fed. Cir. 1988).
         Finally, the Court may also rely upon extrinsic evidence, such as
  treatises and dictionaries, to illuminate the meaning of claim terms. Because
  extrinsic evidence is external to the patent, sometimes authored by persons not
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 6 of 10



  skilled in the art in question, and does not have the benefit of being created at
  the time of, or in view of, the asserted patents, it is considered less reliable,
  and thus, holds less weight in claim construction. Phillips, 415 F.3d at 1318
  (explaining reasons why extrinsic evidence is generally less reliable than
  intrinsic evidence in determining how to read claims).
         In sum, the Court construes only those claim terms which require
  construction, and only then to the extent necessary to resolve the dispute. The
  Court looks first to the claim itself and the specification. The Court may also
  consider the patent’s prosecution history and various extrinsic sources, though
  extrinsic evidence is weighted less than intrinsic evidence in claim
  construction.
         3. Analysis
         At the Markman hearing, the parties proposed         the following construction
  of terms:
       Claim Language         Plaintiff’s Proposed               Defendants’ Proposed
                                  Construction                        Construction
  “first upper sidewall    A sidewall extending                The upper half of the
  including a terminating  from the first upper inset          first side surface,
  end”                     channel sidewall into the           extending from the
                           first opening.                      convex top to its
                                                               terminal end located at
                                                               the first opening.
  “first lower sidewall         A sidewall extending           The lower half of the first
  including a terminating       from the first lower inset     side surface, extending
  end”                          channel sidewall into the      from the convex bottom2
                                first opening.                 to its terminal end
                                                               located in the first
                                                               opening.
  In reaching her recommendation that the Court adopt the Defendants’
  proposed construction of the terms, Judge Otazo-Reyes reasoned that the
  Plaintiff’s proposed construction requires that “sidewall” and “terminating end”
  refer to the same feature, which would render the terms “including a”
  impermissibly superfluous. (See R. & R., ECF No. 95 at 9.) Judge Otazo-Reyes
  reasoned further that subsequent references to a “lip” or “fin” to refer to
  terminating ends rather than sidewalls also undermine the Plaintiff’s proposed
  interpretation of terms. (Id.) Ultimately, Judge Otazo-Reyes recommends the
  Defendants’ proposed claim construction because it does not utilize


  2 The Court assumes that reference in the report to the convex “top” in the
  construction of terms referring to the “first lower sidewall” is a scrivener’s error. (See
  Defs. Opening Claim Constr. Br., ECF No. 87 at 9.)
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 7 of 10



  linguistically different terms to refer to the same structural feature, and does
  not render an claim language superfluous. (Id. at 10.)
        In its objections, the Plaintiff argues that (1) Judge Otazo-Reyes reached
  her conclusion based on an improper linguistic analysis; (2) Judge Otazo-
  Reyes’s interpretation renders the “terminating end” as a separate structure
  from the “sidewall”; and (3) Judge Otazo-Reyes committed error by relying upon
  references to a “lip” or “fin” to refer to “terminating ends.” Upon review, the
  Court determines that the Plaintiff’s objections are without merit.
        The Plaintiff contends that the Defendants’ new product infringes upon
  the ’125 patent:




                    (’125 design)                        (New product)
  In construing terms, the Court begins with the language of the claim itself.
  Claim 1 of the ’125 patent states, in pertinent part,
              A vehicle barrier system comprising:
              a gate arm formed from a single piece of material
              having a top convex member and a bottom convex
              member defining first and second opposing side
              surfaces, a distal end and proximal end defining a
              longitudinal axis therebetween, said proximal end
              coupled to a housing having a control system and
              power supply to selectively pivot said gate arm
              between a horizontal position and a vertical position,
              said gate arm including at least a first elongated inset
              channel centrally disposed in said first side surface
              defined by said top convex member and said bottom
              convex member and formed along said longitudinal
              axis of said gate arm, said first elongated inset channel
              having a first opening formed by a first pair of inset
              channel sidewalls integrally joined to a first inset
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 8 of 10



              channel backwall, said first side surface having a first
              upper sidewall including a terminating end and a
              first lower sidewall including a terminating end
              which ends terminate partially within said first
              opening and spaced from each other[.] (emphasis
              added)
  (ECF No. 36-4.)3 As previously stated, the goal of claim construction is to give
  “ordinary and customary meaning” to terms as ascribed by persons of ordinary
  skill in the arts in question. See Vitronics Corp., 90 F.3d at 1582. Given the
  language of the claim, Judge Otazo-Reyes determined that the ordinary and
  customary meaning of the disputed claim terms means that the terminating
  ends form part of the upper and lower sidewalls, and are not separate
  sidewalls, as suggested in the Plaintiff’s proposed construction. The Plaintiff
  provides no authority for its contention that Judge Otazo-Reyes’s analysis was
  improper. Indeed, in the task of assigning terms their ordinary and customary
  meaning, it makes sense that some linguistic analysis is required. Moreover,
  the Plaintiff’s second objection assumes and argues the exact opposite of Judge
  Otazo-Reyes’s recommendation. Judge Otazo-Reyes’s recommendation
  acknowledges that the terminating end is a part of the sidewall and should not
  be defined separately in the context of the patent, as the Plaintiff seeks to do.
  Also contrary to the Plaintiff’s contention, upon a review of the record, Judge
  Otazo-Reyes did not rely upon references to a “lip” or “fin” to reach her
  conclusion that the Plaintiff’s claim construction should be rejected, but offered
  the observation that such references further undermine the Plaintiff’s proposed
  interpretation of terms.
         Furthermore, the Plaintiff's proposed construction is inconsistent with
  the patent specification, which refers to the upper and lower sidewalls with
  their respective ends as the key features for retaining the LED light arrays. For
  example, the ’125 patent specification states that
                       the first upper sidewall and the first lower
                sidewall each terminate partially within the first
                opening for removably securing the at least one light
                strip within the first elongated inset channel, [and]
                       the vehicle barrier system further includes a top
                member comprising a semi-circular shape having one
                end terminating partially within the first opening, and

  3 This language comes from the Ex Parte Reexamination Certificate, which amended
  the ’125 patent after the USPTO completed its reexamination of the ’125 patent in
  2015. (See ECF No. 20.)
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 9 of 10



                another end terminating partially within the second
                opening, and a bottom member comprising a semi-
                circular shape having one end terminating partially
                within the first opening, and another end terminating
                partially within the second opening[.]
  (ECF No. 36-1 at 8.) In describing Figure 6, which is pictured below, the
  specification states, “the first upper and lower sidewalls 50, 56 terminate
  partially within the opening of inset channel 30. (Id. at 11.) In addition, the
  specification continues to state that the “[t]erminating ends of both the first
  and upper and lower sidewalls 50, 56 help retain the first array of light
  emitting diodes [] within the inset channel.” (Id.) The “convex top member 48”
  in turn, is “integrally formed to include a first upper sidewall 50, and a second
  upper sidewall 52.” (Id.) Structures 60 and 62 are described as “inset channel
  sidewalls” and structure 64 is the “inset channel backwall,” which together
  “define the inset channel 30 having an opening.” (Id.)




                                      (Figure 6)4

  The Plaintiff’s proposed construction—a sidewall extending from the first
  upper/lower inset channel sidewall into the first opening—seeks to insert an
  entirely new structure—a sidewall defined independently from the top/bottom
  convex members of the gate arm formed by the upper and lower sidewalls and

  4 Figure 6 is modified to eliminate the numbers not discussed in this order, and to
  avoid confusion.
Case 0:14-cv-62697-RNS Document 99 Entered on FLSD Docket 05/23/2018 Page 10 of 10



   their terminating ends, or the inset channel sidewalls, all of which are clearly
   delineated in the claim language and patent specification. Such an
   interpretation, as correctly found by Judge Otazo-Reyes, would be contrary to
   the ordinary and customary meaning of the terms of the claim language.
          In contrast, the Defendant’s proposed construction—the upper/lower
   half of the first side surface, extending from the convex top/bottom to its
   terminal end located at the first opening—is consistent with the ordinary and
   customary meaning of terms in the claim language, and the patent
   specification.
        4. Conclusion
        Accordingly, the Court affirms and adopts Judge Otazo-Reyes’s report
   (ECF No. 95), and the following claim construction applies:
   Claim language             Construction
   “first upper sidewall      The upper half of the first side surface, extending
   including a terminating    from the convex top to its terminal end located at
   end”                       the first opening.
   “first lower sidewall      The lower half of the first side surface, extending
   including a terminating    from the convex bottom to its terminal end located
   end”                       in the first opening.

         Done and ordered at Miami, Florida, on May 23, 2018.


                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
